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                       KALAMAZOO PUBLIC SCHOOLS CHILD FIND POLICY - DRAFT


INTRODUCTION

Under the Individuals with Disabilities Education Act (IDEA), ​Kalamazoo Public Schools (KPS)​ is
responsible for conducting continuous efforts intended to identify, locate, and evaluate all
children with disabilities enrolled in ​KPS​, including children with disabilities who are homeless,
children who are making progress grade to grade, and highly mobile children, who are in need of
special education and related services. These duties are called Child Find responsibilities. This
policy establishes procedures for fulfilling Child Find responsibilities at KPS, and applies to all
children enrolled in ​KPS​ and to all staff employed by ​KPS​. ​Kalamazoo Public Schools​ staff is
expected to know and act in accordance with the requirements and procedures established by
this policy. ​Kalamazoo Public Schools​ trains staff on an ​annual ​basis to ensure staff understand
and execute Child Find responsibilities.

POINTS OF CONTACT

Parents are encouraged to speak with any staff of their child’s school if they have concerns about
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their child. Parents and other relevant stakeholders with questions or concerns about a child’s
educational needs should contact one of the following ​KPS ​staff to discuss Child Find, the referral
process, and the availability of special education programming at ​KPS​.


Rikki Saunders – Director, Special Education
saundersrt@kalamazoopublicschools.net

        OR

Janine VanStee – Coordinator, Special Education
vansteeje@kalamazoopublicschools.net




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 The ability of [LEA] to share personal information about a child shall be governed by the Family Educational Rights
and Privacy Act (FERPA), 20 USC §1232g, 34 CFR Part 99.
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TARGET POPULATIONS

This policy and ​Kalamazoo Public Schools​ Child Find efforts apply to children between the ages of
three (5) and twenty-six (26) years enrolled in ​Kalamazoo Public Schools​, including children who
are:

   ●   Homeless;
   ●   Wards of the state;
   ●   Making progress grade to grade; and
   ●   Highly mobile children.

OUTREACH EFFORTS

To ensure the local and school communities are aware of the availability of special education and
related services for eligible children with disabilities and the methods for requesting such
services, ​Kalamazoo Public Schools​ provides public notice through a variety of methods:

   ● Kalamazoo Public Schools​ provides information to parents and the school community at
     school events such as parent-teacher conferences, back-to-school events, summer
     enrollment events, etc.;
   ● Kalamazoo Public Schools​ publishes information and relevant timelines in parent/student
     handbooks, school manuals, calendars, and on its website at ​[LINK];
   ● Kalamazoo Public Schools​ staff provides information to parents during ​annual
     parent-teacher conferences;

COORDINATION WITH NON-EDUCATIONAL DISTRICT AGENCIES

[LEAs should tailor this section to describe all relevant relationships with District agencies and
coordination efforts around Child Find responsibilities]

To ensure coordination with appropriate District agencies to facilitate the identification, location,
and evaluation of children with disabilities enrolled in ​Kalamazoo Public Schools​. KPS maintains
contacts with the following District departments:

   ● Teaching and Learning Services Department
   ● Pre-Kindergarten Early Education Program (PEEP)- Great Start Readiness Program.

KPS​ conducts ​monthly and quarterly ​meetings with representatives of the above agencies to
ensure open and cooperative lines of communication regarding ​KPS’​s Child Find, referral, and
initial evaluation processes and procedures, as well as continuously updating agencies of changes
in appropriate points of contact.



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KPS​ may establish regular communication with other entities responsible for administering
various education, health, and social service programs to children that reside in the district. Those
agencies may include, but are not limited to: The Arc Community Advocates, Department of
Health and Human Services (DHHS), Family and Children Services, Communities In Schools (CIS),
and Integrated Services of Kalamazoo.

PARENT ENGAGEMENT

Parents may obtain information about the availability of special education and related services
through this policy, information posted on our website at ​[LINK]​, or by contacting ​their child’s
school or the Student Services Department. Kalamazoo Public Schools​ also maintains written
materials for parents, which can be found ​in the Student Services Department​. ​KPS ​staff provides
information to parents upon request and at parent-teacher conferences.

REFERRAL PROCESSES

A referral for initial evaluation should state why it is thought that the child may have a disability.
Kalamazoo Public Schools ​is required to make reasonable efforts to obtain parental consent for
the initial evaluation within 30 calendar days of receipt of a referral, and must complete an initial
evaluation and eligibility determination within 30 calendar days of obtaining parental consent.

The initial evaluation timeline does not apply if:

   ● The parent fails or refuses to respond to a request for consent for the evaluation after
     reasonable efforts;
   ● The parent of the child repeatedly fails or refuses to produce the child for the evaluation;
     or
   ● The child enrolls in another LEA prior to the determination of eligibility.

KPS ​accepts referrals for an initial evaluation from the following persons:

   ● A student’s parent;
   ● The student, provided that educational rights have transferred to the student; and
   ● A teacher/staff member of ​KPS​ who has knowledge of the student.

KPS​ must make reasonable efforts to obtain parental consent for an initial evaluation. Reasonable
efforts include attempting to contact the parent at least three (3) times on three (3) different
dates using at least two (2) modalities. ​KPS ​must begin reasonable efforts within 10 business
days of receipt of the referral. ​KPS​ must conduct an analysis of existing data on the student to
determine if additional assessments are necessary. Existing data that may be considered may
include but is not limited to teacher observations, classroom assessments, schoolwide screenings

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and assessments, state assessments, student grades and records, parent reports, health records,
or data from other interventions. ​KPS ​will provide the parent of a child suspected of having a
disability with information about the nature of any additionally required assessment


MULTI-TIERED SYSTEM OF SUPPORTS (MTSS)

The Michigan Department of Education defines a Multi-Tiered System of Supports (MTSS) as a
multi-level framework of instruction, assessment, and intervention designed to meet the
academic and behavioral health needs of all learners. This continuous improvement framework
uses data informed problem solving and decision making across all levels (PK-12). The MTSS
framework is a guide for organizing resources to provide timely instruction/intervention based on
what is best for each student. It establishes that schools have structures and teams in place to
ensure a systematized response for addressing identified student needs.

Kalamazoo Public Schools’ MTSS efforts will not be used to delay the initial evaluation of a
student who may be a child with a disability in need of special education and related services.

PARENT PROCEDURAL SAFEGUARDS AND RIGHTS

Parents’ legal rights during the Child Find process are defined by IDEA and MARSE. In the event of
a disagreement, parents may pursue dispute resolution and due process rights, including
mediation, due process complaints, or state complaints. Parents can learn more about their rights
in their Procedural Safeguards.




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